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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        IN RE: APPLICATION OF MEDICAL
                                   7    RESEARCH COUNCIL FOR AN ORDER                      Case No. 15-mc-80213-HSG (SK)
                                        PERMITTING ISSUANCE OF
                                   8    SUBPOENAS TO TAKE DISCOVERY
                                        FOR USE IN FOREIGN PROCEEDING,                     AMENDED ORDER REGARDING
                                   9                                                       MOTION FOR RECONSIDERATION
                                                       Petitioner.
                                  10
                                                                                           Regarding Docket No. 35
                                  11

                                  12          In the Order granting in part and denying in part the motion for reconsideration filed by
Northern District of California
 United States District Court




                                  13   Medical Research Council (“MRC”), the Court required Genentech, Inc. (“Genentech”) to provide

                                  14   certain documents for in camera review. The Court directed Genentech to provide the Court for in

                                  15   camera review the unredacted sections of the agreement at issue that address production and

                                  16   supply, as well as a copy of the supply agreement between Genentech and Roche referenced in

                                  17   Genentech’s opposition letter filed on December 16, 2015. After reviewing these documents in

                                  18   camera, the Court ORDERS that Genentech shall provide unredacted copies of the following

                                  19   portions of these documents:

                                  20          (1) The following portions of the Amended and Restated Agreement Between Genentech,

                                  21              Inc and F. Hoffman-La Roche Ltd Regarding Commercialization of Genentech’s

                                  22              Products Outside of the United States: the first full paragraph on page two; Art. V(4);1

                                  23          (2) The following portions of the Umbrella Manufacturing Supply Agreement: the

                                  24              beginning phrase of the third paragraph on page one up until (i); the phrase after (iv) in

                                  25              the third paragraph on page one; paragraphs 1.39 and 1.42 on page 6; paragraph

                                  26
                                  27          1
                                                 In its original order, the Court had required Genentech to produce unredated portions of
                                  28   Art. V(5)(d). However, as Genentech brought to the attention of the Court, that paragraph does
                                       not relate to Avastin.
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                                   1             3.1.6(b) on page 12; paragraph 3.8.1 on page 21; paragraphs 4.1, 4.2, and 4.2 on pages

                                   2             32 and 33; and paragraphs 7.1 and 7.2 on page 35;

                                   3         (3) The following portions of the Short Term Supply Agreement: the beginning phrase of

                                   4             the third paragraph on page one up until (i); the phrase after (iii) in the third paragraph

                                   5             on page one; and the second paragraph of 4.1 and paragraphs 4.1.3, 4.1.4, and 4.1.5 on

                                   6             pages 5 and 6.

                                   7         Genentech shall provide these documents to MRC by no later than March 14, 2016.

                                   8         IT IS SO ORDERED.

                                   9   Dated: March 10, 2016

                                  10                                                   ______________________________________
                                                                                       SALLIE KIM
                                  11                                                   United States Magistrate Judge
                                  12
Northern District of California
 United States District Court




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